                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE

    STATE OF TENNESSEE,                                    )
                                                           )
           Plaintiff,                                      )
                                                           )
    v.                                                     ) Civil Action No. 3:23-cv-384
                                                           ) Judge Travis R. McDonough
    ROBERT F. KENNEDY, JR., in his official                ) Magistrate Judge Jill E. McCook
    capacity as Secretary of Health and Human              )
    Services, et al.                                       )
                                                           )
           Defendants.                                     )


                                  FIFTH JOINT STATUS REPORT


         On May 13, 2025, the parties filed a fourth joint status report. ECF No. 49. The parties advised

 the Court that the Sixth Circuit had denied Tennessee’s petition for en banc rehearing of its appeal

 from the denial of the State’s motion for preliminary relief. But because Tennessee is considering

 further appellate review, “[b]oth sides agree[d] that it would be appropriate to maintain this case in

 abeyance pending Tennessee’s decision to seek review.” Id. at 1-2. The parties also “agree[d] to submit

 a joint status report within seven days of Tennessee’s further appeal or by June 27, 2025, whichever is

 earlier.” Id. at 2. The parties now offer this fifth joint status report:

         Tennessee is still considering potential further appellate review. See S. Ct. R. 13 (allowing 90

 days to seek certiorari). Both sides agree that it would be appropriate to maintain this case in abeyance

 pending Tennessee’s decision to seek review. The parties agree to submit a joint status report within

 seven days of Tennessee’s further appeal or by August 14, 2025, whichever is earlier.




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 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served via the
 Court’s electronic filing system on this 27th day of June, 2025 on all counsel of record.


                                                /s/ Harrison Gray Kilgore__
                                                HARRISON GRAY KILGORE




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